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Attorneys for Plaintiffs and Putative Class

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT COURT OF CALIFORNIA

MARLYN SALI and DEBORAH CASE NO.: 14-cV-00985 PSG (JPRX)

SPRIGGS, on behalf of themselves all

others situated and the general public, CLASS ACTION
Plaintiffs, DECLARATION OF JAVIER R.

RUIZ IN SUPPORT OF

V_ PLAINTIFFS’ MOTION FOR

UNIvERsAL HEALTH SERVICES OF II)
RANCHO sPR1NGS,1NC.- Jud e
UNIVERSAL HEALTH sE’RvICEs 0F Dat§
PALMDALE, rNc.- UHs- CORONA Time
INC.- INLAN’D vA’LLEY MEDICAJZ C-mm.
CENTER; RANCHO sPRINGs ~
MEDICA’L cENTER- PALMDALE
REGIONAL MEDICAL cENrER-
TEMECULA vALLEY HosPITAi,
UHS 01= DELAWARE INC., and D’oES
2 to 100, inclusive,

Defendants.

 

 

I, Javier R. Ruiz, declare as follows:

CLASS CERTIFICATION (PART

Hon. Phili S. Gutierrez
June 1, 20 5

1:30 p.m.

880_Roybal

1. I am a paralegal With the law firm of BISNAR!CHASE LLP and am
a member of the iirm’s Class Action Litigation Department (“CALD”). My

duties as part of CALD is, among other things, to interview putative class

members regarding employer practices and damages, draft declarations in

support of certification, review and analyze time and payroll records, and to

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DECLARATION or JAVIER R. RUIZ ISO PLAINTIFFS’ MoTIoN FoR CLASS
CERTIFICATION (PART II)

 

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l input such information into EXcel Spreadsheets in order to determine the

violation rate and damages.

2. My firm represents Plaintiffs Marlyn Sali and Deborah Spriggs
(“Plaintiffs”) and the putative class. l make this declaration (Part II) in support
of Plaintiffs’ Motion for Class Certification (the “Motion”). I have personal
knowledge of the matters stated herein, and if called to testify about these facts, I
could and Would do so in a competent and truthful manner.

Failure to nav all Wages due to Rounding Time Pav yractice

3. AS the result of defendants’ rounding time pay practice, Plaintiffs
Were not paid for all hours worked. Attached to my declaration as Exhibit 3 is a
true and correct copy of Plaintiff Spriggs’ Timekeeper Report data analysis. The
data also reveals that Ms. Spriggs Was not paid all hours Worked as result of the
rounding time pay practice. Ms. Spriggs was owed an average of six minutes per
shift on 78 shifts, totaling 8 hours and 52 minutes.

Failure to pav Short Menalties due to “Flexin ”

4. In addition, Plaintiffs were not paid short-shift penalties for all
hours they were “flexed” before completing their AWS shifts. Plaintiff Spriggs’
Timekeeper Report (Exhibit 3) reveals Ms. Spriggs is also owed penalties for
hours she was “flexed.” Ms. Spriggs was “flexed” on 55 shifts and is owed a
total of 193 hours in short-shift penalties.

Plaintiffs Were Never Provided a Second Meal §reak (Even When Thev
Work_ed_Over 12 Hours in a Shift)

5. In reviewing Plaintiffs’ Timekeeper Reports, Plaintiff Spriggs’ data
reveals that she worked 12 hours or more on 98 out of 172 shifts_roughly 57%
of her shifts. On all the shifts they Worked over 12 hours, Plaintiffs were M
provided a second meal period.

6. The Timekeeper Reports als\J 1'ev.,al Plaintiffs were not provided

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DECLARATION oF JAvIER R. RUIZ ISO PLAINTIFFS’ MorroN FoR CLASS

 

 

CERTIFICATION (PART II)

 

 

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uninterrupted meal periods before 5 and 10 hours of work that were at least 30-
minutes in length.

7. Plaintiff Spriggs’ Timekeeper Report analysis (Exhibit 3) reveals
that Plaintiff Spriggs had 8 missed-meal periods (no recorded meal breaks), 40
short-meal periods (less than 30 minutes), and 145 late-meal periods (taken pass
five hours of work). The data reveals that Plaintiff Spriggs Was taking meal
periods an average of two hours and twelve minutes past the fifth hour of work.
Ms. Spriggs on average was taking her first meal break after seven hours and
twelve minutes after punching in the start of her shift.

8. Plaintiffs’ Payment Detail Reports establish Plaintiffs were not paid
premiums for all meal break violations. Attached to my declaration as Exhibit 4
is a true and correct copy of Plaintiff Sali’s Payment Detail Report. The data
reveals that out of the hundreds of meal violations, o_nl\_/ 11 meal premiums
were paid by defendants

9. Attached to my declaration as Exhibit 5 is a true and correct copy
of Plaintiff Spriggs’ Payment Detail Report. The data also reveals that out of the
hundreds of meal violations, only 5 meal premiums were paid by Defendants.
Plaintiffs Were not Provided HMdreds of Rest Breaks to Which Thev Were

Eligible

10. Based on my review of the data, Plaintiff Spriggs was eligible to
take 172 rest periods for Which she was not provided. Out of the 172 rest
violations, Plaintiff Spriggs Was paid only 2 rest premiums.

11. In light of the above, Plaintiffs were not paid all wages due to them

at the time of separation from their employment with defendants.

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DECLARATIoN oF JAleR R. RUIZ I 0 PLAINTIFFS’ M?)rroN FoR CLASS
CERTIFICATION (PART II)

 

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I declare under the laws of the United States of America that the
_ foregoing is true and correct. Executed on February 16, 2015 in Newport Beach,

§ Califomia.

/s/ Javier R. Ruiz
JAVIER R. RUIZ

 

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DECLARATION oF JAVIER R. RUIZ ISO PLAINTIFFS’ MoTIoN FoR CLASS
CERTIFICATION (PART II)

 

 

 

